            Case: 1:21-cv-00167-SNLJ Doc. #: 8 Filed: 01/19/22 Page: 1 of 2 PageID #: 43

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       Eastern District
                                                    __________ Districtof
                                                                        ofMissouri
                                                                          __________
                        RENO JONES,
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )      Civil Action No. l:21-CV-167 SNLJ
                   GORDONVILLE GRILL,                               )
                                                                    )
                            Defendant
                                                                    )


                                                    SUMMONS IN A CIVIL ACTION
                                         Gordonville Grill
To: (Defendant’s name and address) 829 State Highway Z
                                         Cape Girardeau, Missouri 63701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
                                Reno Jones
whose name and address are: 622 Napa Circle
                                         Cape Girardeau, MO 63703
                                         573-275-7692




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             01/19/2022                                                                           by:
                                                                                        Signature of Clerk or Deputy Clerk
             Case: 1:21-cv-00167-SNLJ Doc. #: 8 Filed: 01/19/22 Page: 2 of 2 PageID #: 44

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 Civil Action No. l:21-CV-167 SNLJ

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                   , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

               I returned the summons unexecuted because                                                                         ; or

               Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $                       .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
